          Case 2:04-cr-00398-RSL        Document 190     Filed 12/06/05     Page 1 of 1



 1                                                                  CHIEF JUDGE LASNIK
 2

 3

 4

 5

 6

 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9   UNITED STATES OF AMERICA,                  )
                                                ) CR04-398L
10                        Plaintiff,            )
                   vs.                          )
11                                              ) ORDER ON MOTION TO SURRENDER
     AMMAR SABBAGH,                             ) DATE TO DECEMBER 23, 2005
12                                              )
                          Defendants.           )
13                                              )
14
            This matter having come on before the Honorable Robert Lasnik, United States
15
     District Judge on defendant’s motion to extend the self surrender date from
16
     December 9, 2005, to December 23, 2005, and the Court having considered defendant’s
17
     motion and the files herein,
18
            IT IS HEREBY ORDERED THAT the defendant’s motion is DENIED.
19

20
            DATED this 6th day of December, 2005.
21

22

23                                                   A
                                                     Robert S. Lasnik
24                                                   United States District Judge
25

26


     ORDER ON MOTION TO
     EXTEND SURRENDER DATE
